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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DAVID SICKLE, et al.,

                Plaintiffs,

 v.                                                   Case No.: 1:11-cv-02224-KBJ

 TORRES ADVANCED ENTERPRISE
 SOLUTIONS, LLC, et al.,

                Defendants.



                                  JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order issued on Monday, September 14, 2020, Plaintiffs

David Sickle and Matthew Elliott and Defendant Torres Advanced Enterprise Solutions, LLC

(“Torres”) (collectively, the “Parties”), by and through their respective undersigned counsel,

hereby submit the following status report.

       Since filing the last Joint Status Report on October, 1, 2020, the Parties have been

actively engaged in settlement negotiations, but those efforts have been unfruitful. The Parties

therefore request that the Court refer them to court-assisted Alternative Dispute Resolution

(“ADR”) and suspend court proceedings in this case for another forty-five (45) days.

       The Parties will file their second joint status report on or before Thursday, December 31,

2020, apprising the Court of the status of ADR.




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Dated: November 16, 2020



__/s/ Scott J. Bloch____________________           _/s/ A. Jeff Ifrah ____________________
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                                                   Solutions, LLC




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on November 16, 2020, I caused a copy of the foregoing to be filed

with the Clerk of Court using the Court’s CM/ECF system, which will send a notification of

electronic filing (NEF) to all counsel of record.



                                                        /s/ Jeffrey R Hamlin
                                                        Jeffrey R. Hamlin (DC Bar no. 478256)




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